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PROB 12B                                                                                         May 16, 2022
(08/16)                                                                                             pacts id: 6173543




                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                 SOUTHERN DISTRICT OF CALIFORNIA
                      Request for Modifying the Conditions or Term of Supervision

Name of Offender: Karina Gonzalez-Burgoin (Spanish)                             Dkt No.: 19CR01941-001-JLS
Name of Sentencing Judicial Officer: The Honorable Janis L. Sammartino, U.S. District Judge
Sentence: 3 years’ probation. (Special Conditions: Refer to Judgment and Commitment Order.)
Date of Sentence: April 22, 2022
Date Probation Commenced: April 22, 2022
Prior Violation History: None.

                                       PETITIONING THE COURT

TO MODIFY THE CONDITIONS OF SUPERVISION AS FOLLOWS:

The balance of the home detention period may be monitored by the probation officer, with or without, electronic
technology.
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PROB12B
Name of Offender: Karina Gonzalez-Burgoin                                                            May 16, 2022
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                                                       CAUSE
On April 22, 2022, the court ordered Ms. Gonzalez-Burgoin to be monitored on home detention with location
monitoring technology for a period of 12 months. On April 26, 2022, the U.S. Probation Office began supervising
Mr. Gonzalez-Burgoin with location monitoring technology. Ms. Gonzalez-Burgoin has been compliant with the
rules of the Location Monitoring Program (LMP). However, the U.S. Probation Office, recently began having
ongoing issues with the location monitoring equipment. According to BI, Inc., the equipment monitoring agency,
cellular signal is vital for the performance of the location monitoring equipment and poor cellular signal is likely
the reason for the issues with M. Gonzalez-Burgoin’s equipment. Ms. Gonzalez-Burgoin has no other viable
residence, and the U.S. Probation Office is unable to effectively supervise Ms. Gonzalez-Burgoin with location
monitoring equipment.

It is therefore recommended the court allow the probation officer discretion to monitor the balance of Ms.
Gonzalez-Burgoin’s home detention without monitoring technology.

 Respectfully submitted:
                      d:                                     Reviewed
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                                                                        nd approved:
 by
          Jennifer Avila                                     Larrry H
                                                             Larry  Hu
                                                                    Huerta
                                                                     uerta
          U.S. Probation Officer
                         Offi                                Supervisory U.S. Probation Officer
          (760) 339-4207

Attachments:
THE COURT ORDERS:


  ;       THE MODIFICATION OF CONDITIONS AS NOTED ABOVE
          OTHER




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Thee Honorable Janis L. Sammartino                                                      Date
U.S.
  S. District Judge
